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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                RALEIGH DIVISION
  IN RE:

    RODNEY ALLEN MCCOWAN                                            09-10347-8-SWH
                                                                       Chapter 7



                           RESPONSE TO OBJECTION TO CLAIM


         COMES NOW Bank of America, N.A. (“Bank of America”) by and through

  undersigned counsel, responding to the Trustee’s Objection to Claim (Doc 177, referred to herein

  as the “Objection”) as follows:

     1. Bank of America incorporates by reference that certain “Affidavit in Support of

         Plaintiff’s Motion for Summary Judgment” executed by Kelly J. Rogers on May 26,

         2017. (Doc # 138-2 p. 3, referred to herein as the “Rogers Aff.”)

     2. Bank of America disputes the Objection is properly before the Court. Bank of America

         incorporates by reference all contentions and arguments in its Responses at Doc.’s 133,

         138, and 149.

     3. The Trustee’s Objection seeks to avoid Bank of America’s lien with respect to 1211

         Champions Point Drive, Durham, NC (the “Property”).

     4. The Bankruptcy Court previously issued an order in this case on February 9, 2018 (the

         “February 9, 2018 Order”) that holds on page 4 that Bank of America’s “debt was

         unsecured, the sole deed of trust corresponding to its debt having been satisfied of record.”

     5. Bank of America has appealed the February 9, 2018 Order to the United States District

         Court for the Eastern District of North Carolina, which appeal remains pending (case

         number 5:18-cv-00075-D). Bank of America also has requested the district court enter a
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           stay of proceedings related to the February 9, 2018 Order (Document 14), including the

           Objection at issue here. This Court should abstain from hearing or ruling on the Objection

           unless and until the district court affirms the February 9, 2018 Order.

       6. Additionally, the Trustee may not avoid Bank of America’s lien by a claim objection, but

           rather must assert such relief in an adversary proceeding under Bankruptcy Rule 7001(2).1

           See, e.g., In re Carter, 2013 Bankr. LEXIS 2577, *1-*3 (Bankr. D. Colo. June 25, 2013)

           (holding that amendments to Bankruptcy Rule 3007 prevent claim objections from

           including a demand for relief and may not act as a substitute for an adversary proceeding);

           In re Lids Corp., 260 B.R. 680, 684 (Bankr. D. Del. 2001) (holding that a disallowance of

           a claim under § 502(d) first requires a judicial determination via an adversary proceeding);

           In re AgFeed USA, 2015 Bankr. Lexis 1403, at *11-*12 (Bankr. D. Del. March 11, 2015)

           (same); and In re Marketing Resources Int’l Corp., 35 B.R. 353, 356 (Bankr. E.D. Pa 1984)

           (same).

  7.       Furthermore, the rationale behind decisions that allow trustees to use a recoupment theory,

           when the trustee is prohibited by the statute of limitations from affirmative recovery, does

           not apply in this case. This case involves a property interest that was not avoided and now

           cannot be avoided. Furthermore, Bank of America has not asserted any affirmative relief

           against the Trustee. There is no logical mechanism to “recoup” or “offset” Bank of

           America’s lien now that Bankruptcy Rule 3007(b) expressly prohibits, in an objection to

           claim, a demand for relief specified in Rule 7001. Yet that is precisely what the trustee is

           seeking here. Lien avoidance must be accomplished by adversary proceeding and not



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   Bankruptcy Rule 3007(b) specifically states: “A party in interest shall not include a demand for relief of a kind
  specified in Rule 7001 [including ‘(2) a proceeding to determine the validity, priority, or extent of a lien’] in an
  objection to the allowance of a claim, but may include the objection in an adversary proceeding.”
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         through a claim objection. And Bank of America is entitled to demand compliance with

         the formalities associated with an adversary proceeding, which the Trustee cannot do. See

         Cen-Pen Corp. v. Hanson, 58 F.3d 89, 93 (4th Cir. 1995) (holding that to avoid a lien, there

         must be a sufficient “affirmative step,” which requires the initiation of an adversary

         proceeding and attendant filing of a complaint and service of a summons).

  8.     The Trustee has not brought an adversary proceeding against Bank of America presumably

         because he is barred from doing so by 11 U.S.C. § 544. The Trustee’s avoidance powers

         under the Bankruptcy Code must be exercised within the later of (A) 2 years after the order

         for relief in the bankruptcy case or (B) 1 year after the appointment of the first trustee. See

         11 U.S.C. § 546(a)(1).2 Here, the Court entered an order converting the Chapter 11 case

         to Chapter 7 by order dated August 4, 2010. (Doc # 98.) Two years after that date is

         August 4, 2012. The Court entered an order appointing the first trustee on August 10,

         2010. (Doc. # 107.) One year after that date is August 10, 2011. The later date between

         the two is August 4, 2012, which is the date by which the Trustee was required to bring a

         proceeding seeking to avoid Bank of America’s lien. Accordingly, the statute of limitations

         to avoid Bank of America’s lien expired more than five years ago, and the Trustee cannot

         attempt to avoid Bank of America’s lien at this late date.

  9.     With the statute of limitations barring the trustee from bringing a successful adversary

         proceeding and Bankruptcy Rule 3007(b) prohibiting an objection from including a

         demand to avoid a lien, there is no procedural mechanism that allows this Court to disallow

         Bank of America’s lien. See 11 U.S.C. § 502(d) (requiring a court to disallow “any claim

         of an entity from which a transfer is avoidable under section . . . 544.”) Bank of America’s


  2
   11 U.S.C. § 546(a)(2) states a bankruptcy case must be open and not dismissed for a party to be
  able to bring a § 544 avoidance action.
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         lien cannot be avoided because the window of opportunity to do so has been shut under

         Section 544 by operation of the applicable statute of limitations.

  10.    Furthermore, Bank of America reasserted and perfected its lien by filing a notice of lis

         pendens on August 3, 2016 in the Durham County official records. See Notice of Lis

         Pendens attached hereto as Exhibit A. Even if this Court sustains the Objection, without

         the ability to assert affirmative relief, the Trustee cannot avoid the notice of lis pendens,

         which remains in the Durham County public record and prevents the Trustee from selling

         the Property free of Bank of America’s lien.

  11.    In other words, the Trustee is requesting relief the Court simply cannot grant on procedural

         and practical grounds.




         This the 6th day of April 2018.



  /s/ Jason K. Purser
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  IN RE:

       RODNEY ALLEN MCCOWAN                                          09-10347-8-SWH
                                                                        Chapter 7



                                     CERTIFICATE OF SERVICE

            I hereby certify that I have this day served the foregoing and annexed pleading or paper
  upon:

      (Served via Electronic Notification)            (Served via Electronic Notification)
      William P Janvier                               Gregory B. Crampton
      The Janvier Law Firm                            Nicholls & Crampton, P.A.
      1101 Haynes St., Ste. 102                       PO Box 18237
      Raleigh, NC 27604                               Raleigh, NC 27619

      (Served via Electronic Notification)
      Marjorie K. Lynch
      Bankruptcy Administrator
      Post Office Box 3758
      Wilson, NC 27895-3758



  by electronic mail, if applicable. Any party that can be served by electronic mail will receive no
  other form of notice.

            This the 6th day of April 2018.
  .


  /s/ Jason K. Purser
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